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                        EXHIBIT B
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                               1                                       Exhibit B
                                                                       Exhibit B
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Long, John

From:                            operationsunriselaw@gmail.com
Sent:                            Monday, May
                                 Monday,  May 11,
                                               11, 2020
                                                   2020 12:01 PM
To:                              jpollino@ghrlawyers.com;  hmcfarland@seyfarth.com; bill.williams@usdoj.gov;
                                 jpollino@ghrlawyers.com; hmcfarland@seyfarth.com;
                                 BoardCommunications@wellsfargo.com
Subject:                         Thank you...



For your latest filing in 20-00253. The law and Wells Fargo policy require me to continue communicating with
anyone and everyone about the physically violent Federal Witness Tampering (Docket 56) and its concealment
(Seyfarth) until I feel comfortable that the information gets through to Responsible Corporate Officers at Wells
Fargo and Company. I am planning another Rule 24 motion on a mandatory basis and a mailing campaign to
their Board of Directors but I hope you agree that ADR is a better way to handle banking matters.

As I testified in Judge Hogan's Court in 2011 (et.seq): The First Amendment obligates me to rightfully present
evidence and speak of personal harm that could affect any citizen. I was twice subjected to "SWATTING"
(false arrest via bogus threat reporting) and the Hobbs Act Violations are horrific. The concealment of the
evidence using the court is documented by the PACER records. The totality of what was done to me is a
monument for the Power of Attorney. :)

18 USC 3 also provides guidance to all of us as it was meant to put "teeth" into the First Amendment
Obligation. "Rights" are basically the opposite of "Freedom" or "Privilege" despite what most people think. I
know not to cry 'fire' in the crowded theater. And be assured your clients would not be in court iff I did not have
perfect
verfect evidence of what happened
                           havoened and
                                      and how it was concealed and how vitally applicable
                                                                                 avolicable it is to ALL CITIZENS
including you and yours. Please stop
                                   stov seeing it as a problem
                                                       oroblem for your
                                                                   your clients when
                                                                                when it
                                                                                     it is in fact
                                                                                              fact an
                                                                                                   an opportunity.
                                                                                                      ovvortunitv. So
let's all work together today for a brighter tomorrow

Thank you from Andy Clark 541.510.3915




           Virus-free. www.avast.com




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                                                          2                                           Exhibit B
                                                                                                      Exhibit B
